                                                               Case 3:17-cv-02056-LB Document 79 Filed 07/12/18 Page 1 of 3



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                                                     12                                 UNITED STATES DISTRICT COURT
                   S AN F RANCISCO , CA 94109
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                                                     13                               NORTHERN DISTRICT OF CALIFORNIA

                                                     14
                                                          DANE ZEEN                                      Case No: 3:17-cv-02056-LB
                                                     15
                                                                 Plaintiff,
                                                     16   v.                                             PLAINTIFF’S SEPARATE
                                                                                                         MEMORANDUM ON DISPUTED JURY
                                                     17   COUNTY OF SONOMA, STEVE FREITAS,               INSTRUCTIONS
                                                          MICHAEL YODER, CHARLES BLOUNT,
                                                     18   and DOES 1-20, inclusive.                      Date:      August 2, 2018
                                                     19                                                  Time:      1:00 p.m.
                                                                 Defendants.                             Courtroom: C, 15th Floor
                                                     20                                                  Judge:     The Honorable Laurel Beeler

                                                     21
                                                                                                         Trial: August 20, 2018
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                                                                          PLAINTIFF’S SEPARATE MEMORANDUM ON DISPUTED JURY INSTRUCTIONS
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                                                                 Plaintiff Dane Zeen presented two special jury instructions. They track the model Ninth
                                                      2
                                                          Circuit Jury instructions for use of force and damages.
                                                      3
                                                                 Plaintiff does not object to the defendants’ General Instructions except as to 3.4 and
                                                      4
                                                          3.5. These instructions are premature and may be confusing to the jury.
                                                      5
                                                                 As to the modifications to Ninth Circuit Model instructions defendants propose, plaintiff
                                                      6
                                                          has several objections.
                                                      7
                                                                 1.2 – Claim and Defenses: Plaintiff objects to language “outside of that related to her (sic)
                                                      8
                                                          lawful detention by Defendant Michael Yoder”. This is a misstatement of plaintiff’s claim.
                                                      9
                                                          Plaintiff alleges that he was subjected to excessive force while being taken into custody for a
                                                     10
                                                          psychiatric evaluation.
                                                     11
                                                                 5.1, 5.2 – Damages: Plaintiff offered a competing proposed instruction number 2, which
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                   S AN F RANCISCO , CA 94109




                                                          is more consistent with the evidence.
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                                                                 5.3 – Damages – Mitigation: Plaintiff objects to this instruction unless evidence is
                                                     14
                                                          admitted at trial to support this instruction. Plaintiff is unaware of any such evidence.
                                                     15
                                                                 5.5 – Punitive Damages. The test is preponderance, not clear and convincing. Plaintiff
                                                     16
                                                          objects to any other revisions from the Model instruction.
                                                     17
                                                                 9.22/25 – Fourth Amendment, Excessive Force: Plaintiff objects to many of the additions
                                                     18
                                                          and modifications defendants made. In addition, plaintiff objects to the omission of many factors
                                                     19   (1 through 12) set forth in Model Instruction 9.25. Plaintiff offered a competing proposed
                                                     20   instruction number 1, which is more consistent with the Model instruction.
                                                     21          As to defendants’ special instructions, plaintiff objects as follows.
                                                     22          Special Instruction 1: Plaintiff objects to this instruction because this language is not
                                                     23   included in Model Instruction 9.25.
                                                     24          Special Instructions 2 and 3: This is not a criminal case and Dane Zeen was not arrested
                                                     25   for committing a crime. In addition, this language is not included in Model Instruction 9.25.
                                                     26
                                                     27

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                                                                          PLAINTIFF’S SEPARATE MEMORANDUM ON DISPUTED JURY INSTRUCTIONS
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                                                          Dated: July 12, 2018                    Respectfully submitted,
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                                                                                                  SCOTT LAW FIRM
                                                      3

                                                      4
                                                                                                By: /s/John Houston Scott____________________
                                                      5                                             John Houston Scott
                                                                                                    Attorneys for Plaintiff
                                                      6

                                                      7   Dated: July 12, 2018
                                                                                                  LAW OFFICES OF IZAAK D. SCHWAIGER
                                                      8

                                                      9
                                                                                                   By: /s/Izaak D. Schwaiger ________________
                                                     10                                                Izaak D. Schwaiger
                                                                                                       Attorneys for Plaintiff
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                   S AN F RANCISCO , CA 94109
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                                                                        PLAINTIFF’S SEPARATE MEMORANDUM ON DISPUTED JURY INSTRUCTIONS
